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                                                                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                                                                        Central District of California
                                                                                                                        BY Bever      DEPUTY CLERK




                                                                                                            CHANGES MADE BY COURT

     Individual appearing without attorney
     Attorney for:

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA – SAN FERNANDO VALLEY DIVISION
In re:
                                                                                            CASE NO.: 1:20-bk-10924-VK
                                                                                            CHAPTER: 11
            Tikran Eritsyan
                                                                                             ORDER RE NOTICE OF MOTION AND MOTION
                                                                                               IN INDIVIDUAL CHAPTER 11 CASE FOR
                                                                                              ORDER APPROVING A BUDGET FOR THE
                                                                                                 USE OF THE DEBTOR’S CASH AND
                                                                                                       POSTPETITION INCOME

                                                                                        DATE:
                                                                                        TIME:
                                                                                        COURTROOM:
                                                                             Debtor(s). PLACE:

                                                                                                 Non-hearing
Movant:
Tikran Eritsyan

The court has considered NOTICE OF MOTION AND MOTION IN INDIVIDUAL CHAPTER 11 CASE FOR ORDER APPROVING A
BUDGET FOR THE USE OF THE DEBTOR’S CASH AND POSTPETITION INCOME (docket number 22         ).

1.    The Motion was:          Opposed                                Unopposed                                   Settled by stipulation

2.    Appearances are stated in the court record.

3.    Based upon the findings and conclusions made at the hearing, IT IS ORDERED THAT:

            The Motion is granted.

            The Motion is denied.


      ///




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4.     IT IS FURTHER ORDERED THAT the Debtor may use cash on hand and the Debtor’s postpetition income and/or earnings to pay
       the expenses and/or make the deductions and/or withholdings described in the budget or in Schedules I and J attached to the
       declaration filed in support of the Motion.

5.          IT IS FURTHER ORDERED THAT:

       a.



       b.



       c.




     Other:




                                                                                 ###




                 Date: July 29, 2020




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